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Gov- 303             BOA Prod_Ex . 303 6 -13 - 20 14 Wire from Willow to TT

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DCI SDocs

Gov -19 15-        Ov erall TRICARE Summary
DCI SDocs

Gov -1917-         TriCare Coun t s Ex hibi t Summary Chart
DCI SProd

Gov - 2 10 1-
StrikerProd_St

Gov - 2 102-
_StrikerProd9 1

Gov - 2 103 -
StrikerProd_9 1

Gov - 2 10L-
_StrikerProd_9

Gov - 2 105 -
StrikerProd_92

Gov - 2 106 -
StrikerProd_l0

Gov - 2 108-
StrikerProdEma

Gov - 2 112- A     S triker Prod_Clip 1 03_20 t o 05_1 7

Gov - 2 112- 8     S triker Prod_Clip 2 page 7- 9 time 12_ 09 t o 15_ 2 1

Gov - 2 112- C     S triker Prod_Clip 3 page 13 time 20_ 52 to 2 1_09

Gov - 2 112- D     S triker Prod_Clip 4 page 13 time 23_ 07 to 24_ 25

Gov - 2 112-E      S triker Prod_Clip 5 page 17 time 29_55 to 30_55

Gov - 2 112-F      S triker Prod_Clip 6 page 19 -23 time 33_ 08 to 40_ 52

Gov - 2 112- G     S triker Prod_C11p 7 page 23- 24 time 43_1 7 t o 44_ 40

Gov - 2 112-H      S triker Prod_Clip 8 page 27 time 49_ 35 to 50_ 03

Gov - 2 112-1      S triker Prod_Clip 9 page 28 time 5 1_20 to 52_13

Gov - 2 112- J     S triker Prod_Clip 10 page 3 1-32 time 56_ 30 to 58_ 35

Gov - 2 112- K     S triker Prod_Clip 11 page 36 - 37 time 1_04_55 t o 1_06_ 44

Gov - 2 112-L      S triker Prod_Clip 12 page 40 - 4 1 time 1_16- 04 to 1_16_ 58

Gov - 2 112- M     S triker Prod_Clip 13 page 42 time 0 1_17 _so to 0 1_18_15

Gov - 2 112- N     S triker Prod_Clip 14 page 45 - 46 time 1_23_14 to 1_24_32

Gov - 2 112- O     S triker Prod_Clip 15 page 58- 59 time 1_46_30 t o 1_47_52

Gov - 230 1-
FPSProd_103020

Gov - 23QL-
FPSProd_LinzRX

Gov - 2305-
FPSProd_9 1320 1

Gov - 2306 -
FPSProd_10 1520

Gov - 2307-
FPSProd_103020

Gov - 2308 -
FPSProd_111120

Gov - 2309 -
       Case 1:18-cr-00011-HSM-CHS
FPSProd_RiceRX                                     Document 318 Filed 10/16/19 Page 15 of 17 PageID #:
                                                           3103
Gov -2310-
FPSProd_924204

Gov -23 11-
FPSProdGeorgeS

Gov -2312-
FPSProdValerie

Gov -23 15-
FPSProd_Jamiso

Gov -2316-
FPSProd_Ry anMc

Gov -23 17-
FPSProdBayleeW

Gov -2318-        Skylar White RX to FPS
FPSProd

Gov -2320-        Wilkerson-FPS agreement
FPSProd

Gov -2502-
PerkinsProdPer

Gov -2601         DAS Prod_Ex. 2601 DAS FPS Nov ember Commissions

Gov -2602         DAS Prod_Ex . 2602 Email from Heather Burnette

Gov -2603         DAS Prod_Ex. 2603 Email re Aly ssa McDonald

Gov -260L         DAS Prod_Ex . 2604 Email re Buisness Info

Gov -2605         0 /\S Prod_Ex . 260.5 Email re Creams

Gov -2606         DAS Prod_Ex . 2606 Email re Heather Burnette Creams

Gov -2607         DAS Prod_Ex. 2607 Email re Ingredients

Gov -2608         DAS Prod_Ex . 2608 Email re Jillian Lynn

Gov -2609         DAS Prod_Ex. 2609 Email re New Script Pad

Gov -2610         DAS Prod_Ex. 2610 Email re Peeps I hav e Signed Up

Gov -2611         DAS Prod_Ex. 2611 Email re Rachel Majors

Gov -2612         DAS Prod_Ex. 2612 Email re Report

Gov -26 13        DAS Prod_Ex. 2613 Email re Sales Process

Gov -261L         DAS Prod_Ex. 2614 Email re The Consent Form

Gov -2615         DAS Prod_Ex. 2615 Email re Topical Creams

Gov -2616         DAS Prod_Ex. 2616 Email re Webber

Gov -2701-
VergotProdJame

Gov -2702-
AVergotProdZac

Gov -2702-
VergotProdZach

Gov -2703-
VergotProdBrad

Gov -270L-        Matthew Perkins Patient Info Form
AVergotProd

Gov -gov t-170

Gov -gov t-171

Gov -gov t-
172w arepatient

Gov -gov t-18

Gov -gov t- 529

Def-
     Case 1:18-cr-00011-HSM-CHS
ChatfieldExhib-11                                Document 318 Filed 10/16/19 Page 16 of 17 PageID #:
                                                         3104
Def-
ChatfieldExhib-13

Def-
ChatfieldExhib-2

Def-
ChatfieldExhib-3

Def-Exhibit-        Hindman Ex. 1
142314TheCream

Def-Exhibit-        Hindman Ex. 2
26414Emailtost

Def-Hindmon-49

Def-rmont-4

Def-rmontgomery-
1

Def-rmontgomery-
2

Def-Montgomery-
3118crll

Def-Wilkerson-1

Def- Wilkerson-2

Def-Wilkerson- 3

Def- Wilkerson-4

Def-4 Hindmon-
Exhibit-
la42314TheCrea

Def-4 Hindmon-
Exhibit-
2a6414StatenMa

Def-4 Hindmon-
Exhibit-
45DAS5670

Def-4 Hindmon-
Exhibit-
47DAS7879




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                                        3105
